        Case 9:21-cv-00078-BMM Document 19 Filed 10/06/21 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION




  ANTHONY WEIMER,
                                                   CV 21–78–M–DLC
                      Plaintiff,

        vs.                                         ORDER

  GOOGLE, INC.; MICROSOFT
  CORPORATION,

                      Defendants.


      Defendant Microsoft Corporation, by and through its attorney Nathan

Bilyeu, moves this Court for the admission of Simon J. Frankel and Breanna K.

Jones pro hac vice in the above-captioned matter. (Docs. 14–15.) Mr. Bilyeu

intends to act as local counsel. (Id.) The applications appear to be in order.

      Accordingly, IT IS ORDERED that Mr. Frankel’s and Ms. Jones’ motions to

appear pro hac vice (Docs. 14–15) are GRANTED on the condition that they do

their own work. This means that Mr. Frankel and Ms. Jones must: (1) do their own

writing; (2) sign their own pleadings, motions, and briefs; and (3) appear and

participate personally. Mr. Frankel and Ms. Jones shall take steps to register in the

Court’s electronic filing system (CM-ECF). Further information is available on

the Court’s website, www.mtd.uscourts.gov, or from the Clerk’s Office.


                                          1
        Case 9:21-cv-00078-BMM Document 19 Filed 10/06/21 Page 2 of 2



      IT IS FURTHER ORDERED that this Order is subject to withdrawal unless

Mr. Frankel and Ms. Jones file a separate pleading acknowledging their admission

under the terms set forth above within fifteen (15) days of this Order.

      DATED this 6th day of October, 2021.




                                          2
